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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS

 IN RE:                                     §
                                            §      Bankruptcy Case No. 25-30155
 ALLIANCE FARM AND RANCH, LLC               §

                   DUSTIN ETTER’S WITNESS AND EXHIBIT LIST

       For the hearing to be held at 2:00 PM on 4/9/2025 on Debtor’s Motion to Jointly

Administer (Doc. 40).

Witness(es):

   1. Jerod Furr

   2. Timothy J. Wentworth

   3. Noah Meek

Exhibits:

   1. State court response to motion to appoint receiver

   2. Affidavit of Wentworth

   3. FT Machine default judgment

   4. Black Diamond default judgment

   5. State court hearing transcript excerpts

   6. State court interrogatory answers

Any witness or exhibit designated by any other party for the hearing.




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                                         Respectfully submitted,

                                         IRELAN MCDANIEL, PLLC

                                              /s/ Noah Meek
                                         By:______________________________
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                                                State Bar No. 24084554
                                                Email: nmeek@imtexaslaw.com
                                                2520 Caroline St., 2nd Floor
                                                Houston, Texas 77004
                                                Phone: (713) 222-7666
                                                Fax:    (713) 222-7669

                                         ATTORNEYS FOR CREDITOR
                                         DUSTIN ETTER



                              CERTIFICATE OF SERVICE

      This is to certify that on April 8, 2025, a true and correct copy of this instrument
was served upon all parties VIA the Court’s CM/ECF System in compliance with the
Federal Rules of Bankruptcy Procedure.

 Timothy L. Wentworth                         Reagan H. “Tres” Gibbs, III
 Okin Adams Bartlett Curry, LLP               Cokinos Young
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 United States Trustee                        Janet Northrup
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                                                    /s/ Noah Meek
                                                   _____________________________
                                                   Noah Meek




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